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     United States District Court
                         FOR THE
              NORTHERN DISTRICT OF CALIFORNIA

                   VENUE: SAN FRANCISCO
                                                                       CR22-426CRB


                        UNITED STATES OF AMERICA,
                                        V.

                               DAVID DEPAPE
                                                                           FILED
                                                                              Nov 09 2022

                                                                       Mark B. Busby
                                                                 CLERK, U.S. DISTRICT COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO
                             DEFENDANT(S).


 INDICTMENT

    18 U.S.C. § 1201(d) – Attempted Kidnapping of a Federal Officer or Employee;

   18 U.S.C. § 115(a)(1)(A) – Assault of an Immediate Family Member of a Federal
                                       Official




         A true bill.
           /s/ Foreperson of the Grand Jury
                                                            Foreman

         Filed in open court this 9th day of

         November
         ____               2022
              ____________,___ ______________.
                                              S. Ybarra
          ____________________________________________
                                                  Clerk
          ____________________________________________

                                             Bail, $ ____No Bail___


         Hon. Alex G. Tse, United States Magistrate Judge
                  Case 3:22-cr-00426-CRB Document 3 Filed 11/09/22 Page 2 of 7




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
                                                                            FILED
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                                                                              Nov 09 2022
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                                                                         Mark B. Busby
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                                                                   CLERK, U.S. DISTRICT COURT
 5                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                        SAN FRANCISCO
 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                         )   CASE NO. CR22-426CRB
                                                       )
12           Plaintiff,                                )
                                                       )   VIOLATIONS:
13      v.                                             )   18 U.S.C. § 1201(d) – Attempted Kidnapping of a
                                                       )   Federal Officer or Employee;
14   DAVID WAYNE DEPAPE,                               )   18 U.S.C. § 115(a)(1)(A) – Assault of an Immediate
                                                       )   Family Member of a Federal Official
15           Defendant.                                )
                                                       )   SAN FRANCISCO VENUE
16

17                                              INDICTMENT
18 The Grand Jury charges:

19                                             Introductory Allegations
20 At all times relevant to this Indictment:

21                                             Nancy and Paul Pelosi
22           1.      Nancy Pelosi (“Speaker Pelosi”) represented California’s 12th Congressional District in
23 the United States House of Representatives. She also served as the Speaker of the United States House

24 of Representatives. She was a federal officer and employee, as those terms are defined by Title 18,

25 United States Code, Sections 1201(a)(5) and 1114, and a United States official, as that term is defined

26 by Title 18, United States Code, Section 115(c)(4).

27           2.      As a member of the United States House of Representatives, Speaker Pelosi received
28 protection services from the United States Capitol Police.


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 1          3.      Paul Pelosi (“Mr. Pelosi”) was married to Speaker Pelosi.

 2          4.      Speaker Pelosi and Mr. Pelosi kept their primary residence in San Francisco, California

 3 (“Pelosi Residence”).

 4                    San Francisco Police Department Responds to Mr. Pelosi’s 9-1-1 Call

 5          5.      On or about October 28, 2022, at approximately 2:23 a.m., San Francisco Police

 6 Department (“SFPD”) received a 9-1-1 call from Mr. Pelosi at the Pelosi Residence. In the

 7 approximately two-and-a-half minute phone call, Mr. Pelosi conveyed to the dispatch officer that there

 8 was an unknown man in his residence. Mr. Pelosi also conveyed that the man was looking for Mr.

 9 Pelosi’s wife, that Mr. Pelosi’s wife was Speaker Pelosi who would not “be there for days,” and that the

10 man said he would “wait” for Speaker Pelosi. Mr. Pelosi made clear in the 9-1-1 call that he did not

11 know who the man was. On the call and from the background, DEPAPE can be heard giving his name as

12 “David” and declaring himself a “friend.” Mr. Pelosi confirmed to the dispatcher that he did not know

13 the man. Towards the end of the call, when the dispatcher offered to stay on the phone with him, Mr.

14 Pelosi told the dispatcher that the man wanted Mr. Pelosi to “get the hell off the phone.”

15          6.      Moments later, at approximately 2:31 a.m., SFPD officers responded to the Pelosi

16 Residence and two officers knocked on the front door. The two officers who approached the door had

17 their body-worn cameras activated. The two officers opened the door to see the foyer of the Pelosi

18 Residence, Mr. Pelosi, wearing a long-sleeved shirt, DEPAPE in shorts, running shoes and a sweatshirt,

19 and DEPAPE and Mr. Pelosi jointly gripping a hammer.

20          7.      An officer asked what was going on, and DEPAPE responded that “everything is good,”

21 while using his other hand to encircle Mr. Pelosi’s right arm. Immediately, an officer said: “drop the

22 hammer.” DEPAPE responded, “ummm nope.” DEPAPE then pulled the hammer over his head, thereby

23 also pulling Mr. Pelosi closer to him and swung the hammer abruptly and forcefully at Mr. Pelosi. In

24 total, these events lasted approximately fifteen seconds.

25          8.      As the officers rushed through the door, they found Mr. Pelosi and DEPAPE on the floor,

26 with DEPAPE’s legs on top of Mr. Pelosi. Officers restrained DEPAPE and called for medical

27 assistance, as a pool of blood swelled around Mr. Pelosi’s head.

28          9.      Officers asked DEPAPE for his name, and he responded with “David DEPAPE.”


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 1 DEPAPE further confirmed he was alone and that he had a backpack on the porch by the “broken glass.”

 2          10.    SFPD’s check of the Pelosi Residence after these events revealed broken glass on a door

 3 indicating DEPAPE’s point of entry into the Pelosi Residence. SFPD also found zip ties in the Pelosi

 4 Residence.

 5          11.    In a subsequent search of DEPAPE’s backpack, law enforcement found, among other

 6 things, a roll of tape, white rope, one hammer, and one pair of rubber and cloth gloves, and a journal.

 7             Mr. Pelosi’s Recollection of the Events Mirrors DEPAPE’s Confession in Key Ways

 8          12.    Mr. Pelosi spoke to SFPD officers while the ambulance transported him to San Francisco

 9 General Hospital and while medics worked on injuries to his head and both hands. Mr. Pelosi explained

10 that DEPAPE woke him by asking where Mr. Pelosi’s wife was. Mr. Pelosi explained to officers that he

11 told DEPAPE that Speaker Pelosi was not there and would not be back for a few days. According to Mr.

12 Pelosi, DEPAPE said he would wait.

13          13.    During a subsequent interview with law enforcement officers on October 30, 2022, Mr.

14 Pelosi confirmed that the hammer with which DEPAPE assaulted Mr. Pelosi did not belong to the

15 Pelosis.

16          14.    In a Mirandized and recorded interview with law enforcement officers on October 28,

17 2022, DEPAPE explained how he entered the Pelosi Residence and woke Mr. Pelosi. According to

18 DEPAPE:

19                 a)      He broke into the house through a glass door using a hammer.

20                 b)      He found Mr. Pelosi in bed and told him to wake up.

21                 c)      He told Mr. Pelosi that he was looking for Speaker Pelosi, and DEPAPE learned

22          from Mr. Pelosi that Speaker Pelosi was not home. DEPAPE relayed that he told Mr. Pelosi that

23          he was tired from carrying his backpack to the Pelosi Residence.

24                 d)      He had zip ties that he was going to use to restrain Mr. Pelosi so that he could

25          take a nap.

26                 e)      He threatened Mr. Pelosi while Mr. Pelosi was “on the phone.”

27          15.    Of the assault, DEPAPE explained he had warned Mr. Pelosi:

28                 a)      He told Mr. Pelosi that Mr. Pelosi would “take the punishment” if he tried to stop


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 1          DEPAPE. He also told Mr. Pelosi that he would “go through him” because DEPAPE did not

 2          “come here to surrender.”

 3                   b)     He did not leave after Mr. Pelosi’s 9-1-1 call because, much like the American

 4          Founding Fathers and the British, he was “fighting tyranny” without the option of “surrender.”

 5                   c)     He explained that while he and Mr. Pelosi were at the door, he “yanked” the

 6          hammer away from Mr. Pelosi and swung it towards Mr. Pelosi.

 7                   d)     He used “full force” on Mr. Pelosi.

 8          16.      During the interview, DEPAPE explained that he had a “target list.” According to

 9 DEPAPE:

10                   a)     Speaker Pelosi was on his target list.

11                   b)     He planned to hold Speaker Pelosi hostage and talk with her. If “Nancy” told

12          DEPAPE the “truth,” he would let her go, and if she “lied,” he would break “her kneecaps.”

13          DEPAPE was certain “Nancy” would not have told the “truth.”

14                   c)     He views Speaker Pelosi as the “leader of the pack” of lies told by the Democratic

15          Party.

16                   d)     As a result of DEPAPE breaking Speaker Pelosi’s kneecaps, she would have to be

17          wheeled into Congress, which would show other Members of Congress that there were

18          consequences to their actions.

19                   e)     DEPAPE further identified another person, referred to here as “Target 1,” as “way

20          up” on his target list, and he explained that he had a plan to use Speaker Pelosi to lure Target 1 to

21          DEPAPE.

22                                      Other Evidence Seized from DEPAPE

23          17.      On October 29, 2022, law enforcement searched a garage of a residence in Richmond,

24 California, after confirming that DEPAPE lived in the garage. There, agents seized two hammers, a

25 sword, and a pair of rubber and cloth gloves, as well as indicia that DEPAPE lived in the garage.

26          18.      In a review of electronic evidence seized from DEPAPE, law enforcement has identified

27 that DEPAPE researched the Pelosi Residence as recently as October 26, 2022. On the same date, he

28 also researched an address associated with Target 1. In the same timeframe, DEPAPE researched a


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 1 home address for another individual on his target list.

 2 COUNT ONE:               (18 U.S.C. § 1201(d) – Attempted Kidnapping of Federal Officer or Employee)

 3           19.    Paragraphs 1 through 18 of this Indictment are re-alleged and incorporated as if fully set

 4 forth here.

 5           20.    On or about October 28, 2022, in the Northern District of California, the defendant,

 6                                          DAVID WAYNE DEPAPE,

 7 attempted to unlawfully and willfully seize, confine, kidnap, and hold for ransom, reward and otherwise

 8 an officer and employee of the United States and of an agency in a branch of the United States

 9 Government, to wit, Nancy Pelosi, a Member and Speaker of the United States House of

10 Representatives, while Nancy Pelosi was engaged in and on account of the performance of her official

11 duties.

12           All in violation of Title 18, United States Code, Section 1201(d).

13

14 COUNT TWO:               (18 U.S.C. § 115(a)(1)(A) – Assault on the Immediate Family Member of a

15 Federal Official)

16           21.    Paragraphs 1 through 18 of this Indictment are re-alleged and incorporated as if fully set

17 forth here.

18           22.    On or about October 28, 2022, in the Northern District of California, the defendant,

19                                          DAVID WAYNE DEPAPE,

20 willfully and unlawfully assaulted Paul Pelosi, the spouse and member of the immediate family of

21 Nancy Pelosi, a United States official as that term is defined in Title 18, United States Code, Section

22 115(c)(4), by means of hitting a hammer on Mr. Pelosi’s head, with intent to impede, intimidate,

23 interfere with and retaliate against Nancy Pelosi while she was in engaged in and on account of the

24 performance of her official duties.

25 //

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 1         All in violation of Title 18, United States Code, Section 115(a)(1)(A).

 2

 3 DATED:                                                       A TRUE BILL.

 4                                                              s/Foreperson
                                                                _____________________
 5                                                              FOREPERSON
 6
   STEPHANIE M. HINDS
 7 United States Attorney

 8 Laura Vartain Horn

 9 _____________________________
   LAURA VARTAIN HORN
10 Assistant United States Attorney
   EDWARD CHANG
11 Special Assistant United States Attorney

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     INDICTMENT                                     6
